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                  Ex. B
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HASSAN M. ADEN
319 NORTH ALFRED STREET
ALEXANDRIA, VIRGINIA 22314
(571) 274-7821
Aden@theadengroup.com

CAREER BRIEF

Hassan Aden is a seasoned administrator with extensive experience leading and
managing organizations. A skilled “Change Agent,” Aden has experience in developing
and implementing comprehensive Change Management Plans. I have a strong history
of internal and external collaboration with stakeholders in the development and
implementation of public policy and programs, as well as strong verbal and written
communications skills accompanied by an excellent analytical capacity. I am a
multilingual - Italian (fluent) and Spanish (conversational) - speaker.

PROFESSIONAL BACKGROUND

November 2022-present
Independent Police Monitor
City of Santa Barbara, California

I serve as the City’s Independent Police Monitor (IPM). My duties include a strong focus
on leading the City Administrator’s Office in developing systems and methodologies for
critically self-assessing the Santa Barbara Police Department in all matters pertaining to
internal accountability. Areas include policy development, processes and procedures,
training, internal affairs and investigations, discipline, and the response to public
disorder issues. Additionally, I serve as a liaison to the newly created civilian oversight
body, known as the Fire and Police Commission. My duties specifically include training
an internal candidate to take over the duties and responsibilities of the IPM within the
next year.

January 2022-present
Consultant/Associate Monitor
Arent Fox Schiff, LLP
Chicago, Illinois

I serve as associate monitor for the Chicago Consent Decree. I manage the
Supervision workgroup with a focus on command and control, span of control and unity
of command for all 22 police districts serving the city of Chicago. I keep the Court
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appointed Monitor up to date on upcoming deadlines and priorities while coordinating,
reviewing and submitting the work of my team.


July 2021-present
Strategic Site Liaison, U.S. Department of Justice/BJA
Louisville Metro Police Department
CNA
Arlington Virginia

I serve as the Strategic Site Liaison to the Louisville Metro Police Department in DOJ’s
Public Safety Partnership program. My responsibilities include leveraging federal
resources, training and technical assistance, grants, and other resources, that are
consistent with, and complimentary to the LMPD’s local violence reduction effort. I am
responsible for directly working with the LMPD leadership on initiatives aimed at
reducing violent crime constitutionally in the City of Louisville.


October 2017-present
Consultant/Deputy Monitor
21st Century Policing, LLC
Chicago, Illinois

I serve as the deputy monitor for the Baltimore Consent Decree monitoring team. I
manage projects of the Baltimore Monitoring Team to ensure that required
assessments, interviews, updates and court documents are completed on time and are
of high quality. I serve as one of the primary liaisons between the monitoring team, the
United States Department of Justice, the City of Baltimore and the Baltimore Police
Department. I keep the Court appointed Monitor up to date on upcoming deadlines and
priorities while coordinating, reviewing and submitting the work of the monitoring team.

April 2016-October 2019
Deputy Monitor
Forward PLLC
New York, NY

I served as primary liaison between the monitoring team, the United States Department
of Justice, the Seattle Police Department, and the City of Seattle staff attorneys and
elected officials. I kept the Court appointed Monitor up to date on upcoming deadlines
and priorities while coordinating, reviewing and submitting the work of the monitoring
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team.

November 2016-November 2022
Monitor
The Aden Group, LLC
Washington, D.C.

I served as the monitor for the Cleveland Consent Decree monitoring team. I manage
the Cleveland Monitoring Team to ensure that required assessments, interviews,
updates and court documents are completed on time and are of high quality. I serve as
the primary liaison between the monitoring team, the United States Department of
Justice, the City of Cleveland and the Cleveland Division of Police. I keep the U.S.
District Court Federal judge up to date on all matters pertaining to the implementation of
the Consent Decree.

February 2016 – present
Founder
The Aden Group, LLC
Washington, DC

My firm provides consultancy to multiple national and international organizations-our
services are aimed at optimizing the continuous improvement of public safety
organizations’ performance and strategic focus. We provide strategic guidance to
departments in assessing their performance against the President’s Task Force on
21st Century Policing recommendations and policy positions. We also serve as
subject matter experts in police use of force, policy, internal investigations and
Constitutional policing.

February 2016 – January 2018
Senior Adviser
Vera Institute of Justice
New York, NY

I provided oversight and leadership on local, state, and federal law enforcement
related projects. Worked with senior Vera leadership to develop and implement
strategies designed to improve how policing interacts and serves vulnerable
populations through concepts and methodologies derived from the 21st Century
Policing Task Force. Researched and developed funding strategies, as well as provided
guidance to Vera staff on projects and proposal development across the portfolios.
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Guided project management methodologies and strategies. Supervise and/or write
papers and collaborated on grant proposals.

February 2016- January 2018
Senior Adviser
The Police Foundation
Washington, D.C.

I served as the senior adviser to the President and senior executive team on all local,
state, and federal law enforcement initiatives and related projects. I advised Police
Foundation executives and staff on funding strategies, as well as provided direction
and oversight on projects and proposal development. Guided project management
methodologies and strategies. Represent the Police Foundation at meetings and
conferences.

January 2015- February 2016
Director
International Association of Chiefs of Police
(IACP) Alexandria, VA

Served as the director of the Research and Programs Directorate of the International
Association of Chiefs of Police and oversee a large portfolio of operational programs
and research projects aimed at advancing professional police services, promoting
enhanced administrative, technical, and operational police practices. Served on
numerous advisory groups within the U.S. D.O.J. whose missions vary from policy
development and law enforcement forecasting to grant funding. I developed and
implemented two first of their kind organizations; the first is the IACP Center for Police
Research and Policy, which in its first three-year phase, is designed to conduct three
Randomized Controlled Trials as well as translate existing empirical research into a
usable format for the profession. The second is the Institute for Community and Police
Relations, which will serve as the front of mind organization for police departments who
are assessing their current relationships with their stakeholders and looking for
evidence-based approaches for addressing gaps in their relationships with the
communities they serve. Both entities are aligned with the President’s 21st Century
Policing Task Force recommendations. Our work fosters cooperation and the exchange
of information and experience among police leaders and police organizations of
recognized professional and technical standing throughout the world.

November 2012- January 2015
Chief of Police
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Greenville Police Department
Greenville, North Carolina

I was appointed Chief of Police on November 26, 2012. The City of Greenville has a
static population of 95,000 residents and is geographically comprised of 35 square
miles. The Greenville Police Department is nationally accredited through the
Commission on Accreditation for Law Enforcement Agencies and has an authorized
strength of 250 sworn and non-sworn employees. The Department had an annual
budget of $22 Million. The Greenville Police Department has been reorganized to
facilitate the implementation of a community oriented policing philosophy with a strong
emphasis on geographic accountability and effective problem-oriented policing tactics.
During my administration significant reform occurred in the Greenville Police
Department. Policies, practices, and training strategies were realigned to meet the
needs of our internal and external stakeholders. The training we implemented across
the organization focused on procedural justice, realignment of performance measures
and community engagement, specifically in the area of building trust. The changes we
implemented, and the derived positive results, were noticed on the national level as
best practices. Post-Ferguson I was selected to be on the U.S. D.O.J. Collaborative
Reform Initiative team that assessed the St. Louis County Police Department and its
actions immediately following the Ferguson Police Department shooting of Michael
Brown.

August 1987- November 2012
Deputy Chief of Police- Patrol Operations Bureau
Alexandria Police Department
Alexandria, VA

Commanding officer of police operations - Dedicated staff of 200 sworn and non-sworn
employees providing service to city of 148,000. Served as Acting Chief of Police when
called upon in the Chief’s absence. Managed $22 Million Patrol Operations Bureau
budget. Assisted the Chief of Police in the development of the department's $52
Million annual budget/ Worked with staff to develop and implement the Patrol
Operations Bureau Strategic Plan and Mission and Vision statements. Led Patrol
Operations Bureau COMPSTAT crime control strategies and problem-solving
activities. 2011 Part One Crime rates are at historic 1965 levels. Served on the City
Manager’s Ethics Committee to address Citywide needs for training and accountability.
Collaborated with employee groups to mutually resolve organizational issues. Taught
the “Leadership Principles” course at the Alexandria Leadership and Management
Institute. Managed research related partnerships for the department.
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Police Captain- Commander of Patrol Sector Three Commanding officer of the largest
police district in the City. Built a highly functioning, effective and diverse team of officers
responsible for affecting a tremendous turnaround in crime and public order issues in
our sector. Facilitated the planning of strategic and tactical responses that have resulted
in major reductions in crime, 43-year lows, as well as a demonstrable rise in the quality
of life in our sector. Commanding officer of the Police Department's Defensive Tactics
Training Unit. $5.2 Million budget for sector expenditures.

Police Captain-Aide to the Mayor and City Council

Managed the Department's correspondence with the Mayor and members of City
Council. Served as the Department's Freedom of Information Act (FOIA) officer.
Provided counsel to the City's political leadership regarding police and related public
policy matters. Collaborated with City Department heads to mitigate constituents'
issues and concerns involving multiple City agencies. Commanded the Police
Department's Field Training Unit responsible for preparing Police Academy graduates
for their patrol duties and ensuring compliance with training standards.

Police Captain- Special Assistant to Chief of Police

Provided counsel and research services to the Chief of Police regarding public
policy matters, strategic planning and internal investigations case review.
Responsible for planning, developing and implementing programs as directed by the
Chief of Police. Provided expertise in the area of COMPSTAT program development
and assisted in developing the infrastructure for what later became the Strategic
Response System (SRS).

Police Captain- National Institute of Justice
Served as a practitioner subject matter expert in the field of interoperable
communications. Provided analysis and solutions regarding radio and data
interoperability problems to police departments throughout the United States and
Canada.

EDUCATION

2009 Master of Public Administration
American University School of Public Affairs; Washington, DC
GPA 3.86; Golden Key National Honor Society; Pi Alpha Alpha National Honor Society
2008 Master Certificate – Public Administration
American University; Washington, DC
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GPA 3.9

PROFESSIONAL / LEADERSHIP TRAINING

2007 Boston University; Boston, MA

Police Executive Research Forum/Senior Management Institute for Police

2006 University of Richmond, Robins Business School; Richmond, VA
Professional Executive Leadership School
2003 to 2005

Leadership Institute City of Alexandria (LICA); Alexandria, VA
Leadership and Responsible Public Administration Studies




PROFESSIONAL ASSOCIATIONS AND MEMBERSHIPS

I serve on the Council on Criminal Justice, which works to advance understanding of the
criminal justice policy choices facing the nation and build consensus for solutions that
enhance safety and justice for all. Independent and nonpartisan, the Council is an
invitational membership organization and think tank, serving as a center of gravity and
incubator of policy and leadership for the criminal justice field.

Commission on Accreditation for Law Enforcement Agencies (CALEA). Former
commissioner on the governing board of CALEA. Currently continue to advise the Board
on current issues in the policing field.

International Association of Chiefs of Police (IACP)

Police Executive Research Forum (PERF)

The National Academies of Sciences, Engineering and Medicine-Served on the
Committee on Proactive Policing to inform on national research priorities
related to law and justice.
